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12
                                  UNITED STATES DISTRICT COURT
13
                                   FOR THE DISTRICT OF NEVADA
14

15   SEQUOAH TURNER, an Individual                  Case No.:

16                 Plaintiff,                       COMPLAINT
17
     vs.
18

19   AREA 15 LAS VEGAS LLC, a Delaware
     Limited Liability Company, AREA 15
20
     GLOBAL LLC, a Delaware Limited Liability
21   Company, KENNETH FISHER, an Individual,
     STEVEN FISHER, an Individual, WINSTON
22   FISHER, an Individual, FISHER BROTHERS
     MANAGEMENT CO. LLC, a New York
23
     Limited Liability Company, FISHER
24   BROTHERS FINANCIAL AND
     DEVELOPMENT COMPANY LLC, a New
25   York Limited Liability Company, and DOES 1-
     50 Inclusive,
26

27                 Defendants.

28

                                                COMPLAINT

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1           Plaintiff SEQUOAH TURNER (hereafter “Ms. Turner”) for her Complaint complains and
2    alleges against Defendants AREA 15 LAS VEGAS LLC, AREA 15 GLOBAL LLC (collectively

3    “AREA 15”), KENNETH FISHER, STEVEN FISHER, WINSTON FISHER (collectively “FB
     Individuals”), FISHER BROTHERS MANAGEMENT CO. LLC (hereafter “Fisher Brothers
4
     Management”), FISHER BROTHERS FINANCIAL AND DEVELOPMENT COMPANY LLC
5
     (hereafter “Fisher Brothers Financial”) (the two Fisher Brothers entities are hereafter referred to as
6
     “Fisher Brothers”), and DOES 1-50, inclusive (collectively “Defendants”), as follows:
7

8                                       JURISDICTION AND VENUE

9           1.      This is a civil complaint brought by Sequoah Turner in the United States District
     Court under Title VII of the Civil Rights Act of 1964 (“Title VII”), as amended by 42 U.S.C. 2000e-2
10
     et. seq. and the Civil Rights Act of 1866, 42 U.S.C. §1981, as amended by the Civil Rights Act of
11
     1991, federal statutes prohibiting discrimination in order to secure protection and redress deprivation
12
     of Ms. Turner’s rights under these laws. Jurisdiction of this Court is therefore invoked under 28
13
     U.S.C. 1331.
14          2.      This action also includes claims arising out of Nevada anti-discrimination statutes,
15   Nevada Revised Statutes (“NRS”) 613.310 et. seq. Jurisdiction is also proper pursuant to NRS
16   14.065. The state claims are joined pursuant to the doctrine of supplemental jurisdiction and 28
17   U.S.C. 1367(a).

18
            3.      Ms. Turner asserts that she was subjected to discrimination and was treated disparately
     and subjected to a hostile work environment and retaliation due to her race, which is strictly
19
     prohibited under Title VII, Section 1981 and NRS 613.310.
20
            4.      As Ms. Turner’s employers during the relevant time-period, Defendants conducted
21
     business regularly and systematically in Clark County, Nevada. Defendants’ improper conduct at
22   issue occurred in whole or in part in Clark County, Nevada, and engaged in an industry affecting
23   commerce. Thus, pursuant to 28 U.S.C. 1391(b)(1), 28 U.S.C. 1391(b)(2), 28 U.S.C. 1391(c)(1) and
24   28 U.S.C. 1391(c)(2), venue is proper in the United States District Court for the District of Nevada.
25          5.      Ms. Turner received a copy of her “Notice of Suit Rights” from the EEOC on or about

26   June 5, 2022. Ms. Turner is in fulfillment of all jurisdictional requirements, including filing of this
     lawsuit within ninety (90) days of her receipt of the Notice of Suit Rights.
27

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1                                               THE PARTIES
2           6.      Ms. Turner is an African American woman. At all times herein mentioned, she was a

3    resident of the County of Clark, State of Nevada.
            7.      Defendants own and/or operate “AREA 15,” a retail and entertainment complex
4
     located at 3215 S. Rancho Drive, Las Vegas, Nevada 89102.
5
            8.      At all times herein mentioned, Defendant AREA 15 Las Vegas LLC and AREA 15
6
     Global LLC (collectively “AREA 15”) are limited liability companies formed in Delaware and
7
     licensed to do business in Clark County, Nevada.
8           9.      At all times herein mentioned, Defendants Fisher Brothers Management and Fisher
9    Brothers Financial were New York limited liability companies and were the owners and/or managing
10   entities for Defendant AREA 15.
11          10.     At all times herein mentioned, Defendants Kenneth Fisher, Steven Fisher, and

12   Winston Fisher (“FB Individuals”) were owners and managers of Fisher Brothers Management and
     Fisher Brothers Financial.
13
            11.     At all times herein mentioned, Defendants were the agents, servants, and employees of
14
     each other and, at all times pertinent hereto, were acting within the course and scope of their authority
15
     as agents, servants, and/or employees, and acting on implied and actual permission and consent.
16

17        FISHER BROTHERS ACTIVELY PARTICIPATED IN THE MANAGEMENT AND
                       CONTROL OF THE ACTIONS OF AREA 15
18
            12.     Defendants Fisher Brothers Management and Fisher Brothers Financial controlled
19
     AREA 15. Indeed, in an announcement, Fisher Brothers advised the public that, “AREA 15
20
     represents a collaborative venture between real estate development firm Fisher Brothers and creative
21
     agency Beneville Studios, both of New York.”
22          13.     Fisher Brothers’ executives held out AREA 15 as part of the Fisher Brothers group.
23   Fisher Brothers’ control of AREA 15 is confirmed by AREA 15’s Organization Structure chart and
24   other documents.
25          14.     Fisher Brothers, through the Defendant FB Individuals, managed the critical business

26   activities of AREA 15, including but not limited to as follows:
                    A.      Fisher Brothers’ IT team handled all of the IT needs for AREA 15.
27
                    B.      Fisher Brothers assumed the role of training AREA 15 employees.
28

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1                     C.     Fisher Brothers controlled the process of obtaining AREA 15’s Nevada
2                            liquor license.

3                     D.     Fisher Brothers controlled the human resources for AREA 15.
                      E.     Fisher Brothers controlled the Internet network infrastructure for AREA
4
                             15.
5
                      F.     AREA 15’s lease agreements were signed by Winston Fisher and Kenneth
6
                             Fisher.
7
                      G.     Defendant FB Individuals communicated and advised each other on
8                            AREA 15 operational matters.
9                     H.     Defendant Steven Fisher was involved in AREA 15 budget meetings and
10                           posed questions to AREA 15 employees regarding AREA 15’s budget.
11             15.    Thus, Defendants Kenneth Fisher, Steven Fisher, and Winston Fisher were

12   actively involved in the management and control of AREA 15.
               16.    Ms. Turner was always told that the Fisher Entities were owners of AREA 15. The
13
     Fisher Entities’ own website (https://www.fisherbrothers.com/properties/area15) (last visited
14
     September 10, 2021) identifies AREA 15 as one of its properties and defines AREA 15 as a
15
     “collaborative venture between real estate development firm Fisher Brothers and creative agency
16
     Beneville Studios, both of New York.”
17             17.    When AREA 15 employees gave tours of the AREA 15 facility, they were instructed
18   to tell everyone that the Fisher Family and Fisher Entities controlled the facility. The City of Las
19   Vegas complained constantly that “this isn’t New York,” and that it was hard to work with AREA 15

20   because of the New York City team’s interference. It was common knowledge that the New York
     City team impeded AREA 15’s efforts in Las Vegas.
21
               18.    In the performance of Ms. Turner’s job duties, she was directed by the Fisher Entities,
22
     answered to the Fisher Entities, was governed by the Fisher Entities, and directly communicated with
23
     the Fisher Entities, including but not limited to the following individuals and their respective job
24
     titles:
25             Philip Brohn: Senior Executive for the Fisher Entities and Design and Construction Manager
26             for AREA 15.

27
               Ari Moses: Director of Investments for the Fisher Entities and a board member of AREA 15.
28   //

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1            Clara Chen: Property Controller for the Fisher Entities and Accountant for AREA 15.
2
             Clark Briffel: Director of Leasing for the Fisher Entities and AREA 15.
3

4            Cliff Spierer: Chief Financial Officer for the Fisher Entities.

5            Sam Rosenberg: Chief Financial Officer for the Fisher Entities.
6
             Petronela Digeratu: Corporate employee for the Fisher Entities.
7

8            Susan Dalton: Director of Human Resources for the Fisher Entities and AREA 15.

9
             Winston Fisher: Chief Executive Officer of AREA 15 and Partner of the Fisher Entities.
10
             Martin Edelman: Partner of the Fisher Entities.
11

12           Jitendra Jain: Director of Development for the Fisher Entities, who oversaw the
             development, design, and construction of AREA 15.
13

14           Stephanie Roney: Acquisitions and Development Analyst for the Fisher Entities and Project
15           Manager for AREA 15.

16           Katie Liu: Fisher Entities information technology (“IT”) director, who oversaw all AREA 15
17           IT matters.

18           19.    Winston Fisher consulted with Kenneth Fisher, and others, regarding post-COVID
19   safety for AREA 15.
20           20.    Kenneth Fisher and Winston Fisher received weekly status reports regarding
21   AREA 15 issues. These status reports led to dialogues between the FB Individual Defendants

22   regarding management of AREA 15.

23
          DEFENDANTS DISCRIMINATED AGAINST MS. TURNER BASED ON HER RACE
24
             21.    Defendants consistently and routinely discriminated against Ms. Turner because of her
25
     race. The discrimination was ongoing and increased in frequency and severity over time. Ultimately,
26
     the heinous acts of racism and Ms. Turner’s attempt to stop the racism resulted in her pretextual
27   termination.
28   //

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1            22.   Beginning in February 2019, Ms. Turner was employed by Defendants as Retail
2    Operations Manager/Assistant General Manager.

3            23.   Defendants forced Ms. Turner, who was in her last trimester of pregnancy, to work in
     conditions less favorable than white coworkers.
4
             24.   When Ms. Turner took maternity leave, her time and pay were cut in half. She had to
5
     utilize two weeks of personal-time-off for the baby then returned to work remotely on May 8, 2019.
6
             25.   In or about June 2019, Ms. Turner met with Jim Heilmann, AREA 15’s General
7
     Manager, to discuss breast pumping accommodations before her return to the office. Defendants
8    assured Ms. Turner that a space would be available to accommodate her needs. Nevertheless, she was
9    forced to pump in the restroom. She was then moved to a small office with no lock and a window,
10   whereby fellow employees could see her as they walked by. Defendants then moved Ms. Turner to
11   another office with no HVAC that was often being utilized by other employees.

12           26.   Ms. Turner consistently worked in excess of 72 hours per week once she returned to
     work from maternity leave.
13
             27.   In December 2019, Defendants gave Ms. Turner all positive comments on her annual
14
     review. James Heilmann told Ms. Turner she was a high performer who performed consistently at a
15
     high level. Mr. Heilmann also told her she would not be receiving an increase in salary and that her
16
     bonus was reduced due to her being on maternity leave, even though she was working during that
17   time.
18           28.   Defendants underpaid Black employees like Sequoah Turner in comparison to white
19   AREA 15 employees in similarly situated employment.

20           29.   Defendants paid Ms. Turner less than white coworkers in similarly situated
     positions.
21
             30.   In April 2020, Defendants gave Ms. Turner a new title: Director of Retail. This “title”
22
     came with no increase in compensation. Ms. Turner was the only Black director.
23
             31.   Every other director, but one, was paid more than Ms. Turner.
24
             32.   Ms. Turner was paid less money than her white subordinate.
25           33.   Out of the 200 employees at AREA 15 and 60+ employees at the corporate office,
26   Defendants only employed approximately seven (7) Black employees outside of security.
27

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1           34.     In May 2020, Josh Baro, AREA 15’s Senior Sales Manager, had shaved his head.
2    During an AREA 15 telephone meeting, Mr. Baro made inappropriate jokes about his new

3    “skinhead” appearance that made Ms. Turner very uncomfortable.
            35.     Ms. Turner and fellow employee George Jaramillo asked Mr. Heilmann and Howard
4
     Weiss, Head of Sales and Entertainment Strategy, to address this “skinhead” comment with Mr. Baro.
5
     Mr. Heilmann replied that Ms. Turner was “pulling the race card” again and did not see how the
6
     incident was offensive.
7
            36.     Ms. Turner then had a phone call with Susan Dalton, Defendants’ Director of Human
8    Resources. Ms. Dalton did nothing about Mr. Baro’s racial overtones. It was obvious to Ms. Turner
9    that Defendants were trying to cover up Mr. Baro’s actions.
10          37.     In July 2020, Ms. Turner emailed Defendants, telling them they should hold all
11   employees accountable equally. After Ms. Turner sent the email, Dan Pelson, AREA 15’s Chief

12   Operating Officer, and Mr. Heilmann, told Ms. Turner to not send them such emails.
            38.     Ms. Turner then spoke with Ms. Dalton and expressed her hurt and disappointment
13
     over her white subordinate making more money than her and the response Mr. Pelson and Mr.
14
     Heilmann gave in response to her email.
15
            39.     As a director, Ms. Turner continually asked Defendants for an assistant, as had
16
     similarly situated white employees.
17          40.     Throughout the next several months, Defendants continually denied Ms. Turner the
18   needed help, even though Defendants provided the requested support to white employees, both in Ms.
19   Turner’s department and outside of her department.

20          41.     In or about January 2021, Mr. Heilmann asked Ms. Turner to essentially falsify
     information. Ms. Turner refused to do so. After being asked to falsify documents, Ms. Turner
21
     provided a 30-day notice. Mr. Heilmann refused to honor the 30-day notice given and terminated
22
     Ms. Turner shortly thereafter.
23
            42.     Defendants’ constructive termination of Ms. Turner was an orchestrated and pretextual
24
     termination that would not have occurred, but for Ms. Turner’s race.
25          43.     Defendants had praised Ms. Turner for her stellar work and promoted her in title.
26          44.     Defendants forced Ms. Turner out of AREA 15 through their constant racial
27   discrimination in the workplace and by the favorable treatment of other similarly situated white
28   employees, and Defendants’ failure to discipline glaring, explicit racial misconduct. Defendants were

                                                COMPLAINT

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1    trying to force Ms. Turner to quit or make the workplace conditions so intolerable that no reasonable
2    person in Ms. Turner’s position would remain employed.

3           45.     Defendants acted confidently that Ms. Turner’s complaints of racial discrimination
     would never see the light of day.
4
                                 FIRST CLAIM FOR RELIEF
5                        EMPLOYMENT DISCRIMINATION BASED ON RACE
6                               TITLE VII (42 U.S.C. § 2000e-2)
                                AGAINST ALL DEFENDANTS
7
            46.     Ms. Turner re-alleges each and every allegation in the preceding paragraphs of this
8    Complaint with the same force and effect as though fully set forth herein.
9           47.     Section 703 of Title VII, 42 U.S.C. § 2000e-2, prohibits employment practices that
10   discriminate against persons on the basis of their race.
11          48.     Defendants knew or should have known of their obligation, pursuant to Federal and

12   State statutes, to maintain a workplace free of racial discrimination.
            49.     Defendants failed to take reasonably adequate steps to prevent racial discrimination in
13
     their workplace in the State of Nevada.
14
            50.     Defendants knew, at all times, that Ms. Turner was of African American origin.
15
     Defendants, acting through and with their employees, subjected Ms. Turner to disparate treatment
16
     and a hostile work environment including, but not limited to, making remarks intended to humiliate
17   Ms. Turner, denying Ms. Turner benefits, and denying Ms. Turner the same rights and privileges of
18   other employees due to her race.
19          51.     Defendants, acting through and with their employees and agents, discriminated

20   illegally against Ms. Turner because their remarks and treatment were not directed to similarly
     situated non-African American employees.
21
            52.     But for Defendants’ racial discrimination against Ms. Turner and her complaints about
22
     discriminatory conduct, Ms. Turner would still be employed by AREA 15 and earning the salary and
23
     bonuses she was promised.
24
            53.     As a direct and proximate result of Defendants’ unlawful conduct, Ms. Turner suffered
25   damages and is entitled to compensation for loss of enjoyment of life, mental and emotional pain and
26   suffering, economic loss, and other related costs which, with reasonable probability, will be
27   experienced and/or required in the future.
28

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1            54.    The acts, conduct, and behavior of Defendants were performed knowingly and
2    intentionally and were malicious, oppressive, and in reckless disregard of Ms. Turner’s rights,

3    entitling her to punitive damages.
             55.    As a direct and proximate result of Defendants’ actions, Ms. Turner has been required
4
     to retain the services of attorneys to prosecute this claim and is entitled to be compensated for any
5
     costs incurred in the prosecution of this action, including without limitation, any and all costs and
6
     attorney’s fees.
7
                                      SECOND CLAIM FOR RELIEF
8                                    HOSTILE WORK ENVIRONMENT
                                      TITLE VII (42 U.S.C. § 2000e-2)
9                                     AGAINST ALL DEFENDANTS
10           56.    Ms. Turner re-alleges each and every allegation in the preceding paragraphs of this
11   Complaint with the same force and effect as though fully set forth herein.

12           57.    Section 703 of Title VII, 42 U.S.C. § 2000e-2, prohibits employment practices that
     discriminate against persons on the basis of their race or sexual orientation.
13
             58.    Defendants knew or should have known of their obligation, pursuant to Federal and
14
     State statutes, to maintain a workplace free of discrimination.
15
             59.    Defendants knew, at all times, that Ms. Turner was African American. Defendants,
16
     acting through and with their employees, subjected Ms. Turner to disparate treatment and a hostile
17   work environment, including but not limited to making remarks intended to humiliate Ms. Turner,
18   denying her benefits, and denying her the same rights and privileges of other employees due to her
19   race.

20           60.    Defendants’ remarks and treatment were intended to humiliate and intimidate Ms.
     Turner. The remarks and treatment were unwelcomed by Ms. Turner and were sufficiently severe and
21
     pervasive so as to alter the conditions of Ms. Turner’s employment and create an abusive working
22
     environment.
23
             61.    Defendants’ comments and actions were so severe and pervasive as to pollute Ms.
24
     Turner’s workplace, making it more difficult for her to do her job free from discriminatory intrusions
25   and ultimately to retain her job.
26

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1           62.     As a direct and proximate result of Defendants’ unlawful conduct, Ms. Turner suffered
2    damages and is entitled to compensation for loss of enjoyment of life, mental and emotional pain and

3    suffering, economic loss, and other related costs which, with reasonable probability, will be
     experienced and/or required in the future.
4
            63.     The acts, conduct, and behavior of Defendants were performed knowingly and
5
     intentionally and were malicious, oppressive, and in reckless disregard of Ms. Turner’s rights,
6
     entitling her to punitive damages.
7
            64.     As a direct and proximate result of Defendants’ actions, Ms. Turner has been required
8    to retain the services of an attorney to prosecute this claim and is entitled to be compensated for any
9    costs incurred in the prosecution of this action, including without limitation, any and all costs and
10   attorney’s fees.
11                                THIRD CLAIM FOR RELIEF
                        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
12                                AGAINST ALL DEFENDANTS
13
            65.     Ms. Turner re-alleges each and every allegation in the preceding paragraphs of this
14   Complaint with the same force and effect as though fully set forth herein.
15          66.     Defendants’ conduct was extreme and outrageous and performed with reckless
16   disregard that such actions would cause emotional distress to Ms. Turner.

17          67.     Ms. Turner suffered severe and extreme emotional distress as the direct and proximate

18
     result of Defendants’ conduct in an amount to be proven at trial, plus pre- and post-judgment interest.
            68.     The acts, conduct, and behavior of Defendants were performed knowingly and
19
     intentionally and were malicious, oppressive, and in reckless disregard of Ms. Turner’s rights,
20
     entitling her to punitive damages.
21
            69.     As a direct and proximate result of Defendants’ actions, Ms. Turner has been required
22   to retain the services of an attorney to prosecute this claim and is entitled to be compensated for any
23   costs incurred in the prosecution.
24                                FOURTH CLAIM FOR RELIEF
                         DISCRIMINATION PURSUANT TO NRS 613.330 et. seq.
25                                AGAINST ALL DEFENDANTS
26          70.     Ms. Turner re-alleges each and every allegation in the preceding paragraphs of this
27   Complaint with the same force and effect as though fully set forth herein.

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1           71.     The discrimination, denial of benefits, and retaliatory actions by Defendants, due to
2    Ms. Turner’s race, constitute unlawful discriminatory employment practices under the Nevada Equal

3    Employment Opportunity Act – NRS 633.310 et. seq.
            72.     Ms. Turner suffered severe and extreme emotional distress as the direct and proximate
4
     result of Defendant’s conduct in an amount to be proven at trial.
5
            73.     The acts, conduct, and behavior of Defendants were performed knowingly and
6
     intentionally and were malicious, oppressive, and in reckless disregard of Ms. Turner’s rights,
7
     entitling her to punitive damages.
8           74.     As a direct and proximate result of Defendants’ actions, Ms. Turner has been required
9    to retain the services of an attorney to prosecute this claim and is entitled to be compensated for any
10   costs incurred in the prosecution.
11                                 FIFTH CLAIM FOR RELIEF
                         DISCRIMINATION IN VIOLATION OF 42 U.S.C. § 1981
12                                AGAINST ALL DEFENDANTS
13
            75.     Ms. Turner re-alleges each and every allegation in the preceding paragraphs of this
14   Complaint with the same force and effect as though fully set forth herein.
15          76.     Defendants’ discrimination against Ms. Turner is in violation of the rights of Ms.
16   Turner afforded her by the Civil Rights Act of 1866, 42 U.S.C. §1981, as amended by the Civil

17   Rights Act of 1991.

18
            77.     Defendants knew or should have known of their obligation, pursuant to Federal and
     State statutes, to maintain a workplace free of discrimination based on race.
19
            78.     Defendants failed to take reasonably adequate steps to prevent discrimination based
20
     upon race in its workplace in the State of Nevada.
21
            79.     Defendants, acting through and with their employees and agents, subjected Ms. Turner
22   to disparate treatment and a hostile work environment, including but not limited to making remarks
23   intended to humiliate Ms. Turner, denying Ms. Turner benefits, and denying Ms. Turner the same
24   rights and privileges of other employees due to her African American race.
25          80.     Defendants’ remarks and actions were intended to humiliate and intimidate Ms.

26   Turner and to undermine her safety in the workplace.

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1           81.     Defendants further exemplified their racial discrimination by paying employees of
2    color less than similarly situated White employees and withholding other benefits from Ms. Turner

3    because of her race, while providing these benefits to White employees.
            82.     Defendants, acting through and with their employees, unlawfully discriminated against
4
     Ms. Turner because their remarks and actions were not directed to similarly situated White
5
     employees.
6
            83.     As a direct and proximate result of Defendants’ unlawful conduct, Ms. Turner suffered
7
     damages and is entitled to compensation for loss of enjoyment of life, mental and emotional pain and
8    suffering, economic loss, and other related costs which, with reasonable probability, will be
9    experienced and/or required in the future.
10          84.     The acts, conduct, and behavior of Defendants were performed knowingly and
11   intentionally and were malicious, oppressive, and in reckless disregard of Ms. Turner’s rights,

12   entitling her to punitive damages.
            85.     As a direct and proximate result of Defendants’ actions, Ms. Turner has been required
13
     to retain the services of an attorney to prosecute this claim and is entitled to be compensated for any
14
     costs incurred in the prosecution of this action, including without limitation, any and all costs and
15
     attorney’s fees.
16

17          WHEREFORE, PLAINTIFF prays for judgment to be entered in her favor and against each of

18
     the Defendants as follows:
            1.      For special damages for lost wages, bonuses, vacation pay, 401k compensation and
19
                    other compensatory, and economic and special damages according to proof at trial,
20
                    together with interest, penalties, and costs;
21
            2.      For general and non-economic damages according to proof at trial;
22          3.      For attorney’s fees according to proof at trial;
23          4.      For punitive damages as allowed by law and according to proof at trial;
24          5.      For pre-judgment interest at the prevailing legal rate;
25          6.      For costs of suit; and

26

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1          7.     For such other and further relief as this Court deems just and proper.
2

3    Dated: August 19th, 2022
                                                          KAPLAN YOUNG
4

5                                                         By: Kory L. Kaplan____________________
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